   Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 1 of 25




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


DONALD FALLS, et al.,

                    Plaintiffs,            Case No. 4:22-cv-166-MW/MJF

             v.

RON DESANTIS, in his official
capacity as Governor of Florida, et al.,

                    Defendants.


DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AND
   FOR LEAVE TO FILE A SUPPLEMENTAL MEMORANDUM IN
     OPPOSITION TO PLAINTIFF CASSANELLO’S MOTION
            FOR A PRELIMINARY INJUNCTION


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August 12, 2022
      Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 2 of 25




                                       TABLE OF CONTENTS

                                                                                                            Page

TABLE OF AUTHORITIES ................................................................................. ii

INTRODUCTION .................................................................................................. 1

FACTUAL BACKGROUND ................................................................................. 2

STANDARD OF REVIEW .................................................................................... 5

ARGUMENT ......................................................................................................... 5

     I.      Dr. Cassanello’s Idiosyncratic View Of “Race” Renders His Challenge To
             The Act Utterly Incoherent ...................................................................... 5

     II.     Dr. Cassanello Has Failed To Demonstrate That He Intends To Endorse
             Any Of The Prohibited Concepts In His Classes .................................... 10

     III.    Dr. Cassanello’s Subjective Fear Of Erroneous Enforcement By Persons
             Not Before the Court Does Not Confer Standing ................................... 15

CONCLUSION .................................................................................................... 19




                                                         1
      Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 3 of 25




                                   TABLE OF AUTHORITIES

Cases                                                                                                    Page


Babbitt v. United Farm Workers Nat’l Union,
      442 U.S. 289 (1979).................................................................................... 15
Blackburn v. Shire US Inc.,
      18 F.4th 1310 (11th Cir. 2021)...................................................................... 5
Frontiero v. Richardson,
      411 U.S. 677 (1973)...................................................................................... 8
Garcia v. Gloor,
     618 F.2d 264 (5th Cir. 1980)..................................................................... 8, 9
Keister v. Bell,
      29 F.4th 1239 (11th Cir. 2022).................................................................... 10
Laird v. Tatum,
      408 U.S. 1 (1972)........................................................................................ 15
Legacy Enter. & Arts Found., Inc. v. Mina, No. 6:21-cv-698-PGB-DCI,
     2021 WL 4444688 (M.D. Fla. Aug. 20, 2021) ............................................ 18
Lujan v. Defs. of Wildlife,
      504 U.S. 555 (1992).................................................................................... 10
Speech First, Inc. v. Cartwright,
     32 F.4th 1110 (11th Cir. 2022).............................................................. 10, 11
Susan B. Anthony List v. Driehaus,
      573 U.S. 149 (2014).................................................................................... 10
Vieth v. Jubelirer,
      541 U.S. 267 (2004)...................................................................................... 9
Whole Woman’s Health v. Jackson,
     142 S. Ct. 522 (2021) .................................................................................. 17
Wreal, LLC v. Amazon.com, Inc.,
      840 F.3d 1244 (11th Cir. 2016) ..................................................................... 5




                                                        2
     Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 4 of 25




Statutes

FLA. STAT.

        § 1000.05(4)(a) ........................................................................................... 17

        § 1000.05(4)(a)1 ..................................................................................... 2, 12

        § 1000.05(4)(a)2 ..................................................................................... 2, 13

        § 1000.05(4)(a)3 ........................................................................... 2, 6, 13, 14

        § 1000.05(4)(a)4 ........................................................................................... 3

        § 1000.05(4)(a)5 ..................................................................................... 3, 13

        § 1000.05(4)(a)6 ........................................................................................... 3

        § 1000.05(4)(a)7 ..................................................................................... 3, 16

        § 1000.05(4)(a)8 ................................................................................. 3, 6, 13

        § 1000.5(4)(b) ............................................................................................... 3

        § 1000.05(9) ............................................................................................... 17

2022 Fla. Laws 72, § 8 (“Individual Freedom Act”) ...............................................2



Other Authorities

Matthew Delmont, WHY BUSING FAILED: RACE, MEDIA, AND THE NATIONAL
     RESISTANCE TO SCHOOL DESEGREGATION (2016) ........................................ 12

David R. Roediger, THE WAGES OF WHITENESS: RACE AND THE MAKING OF THE
      AMERICAN WORKING CLASS (2007) ............................................................ 18

Michelle Alexander, THE NEW JIM CROW: MASS INCARCERATION IN THE AGE OF
     COLORBLINDNESS (2012) ........................................................................ 6, 18




                                                          3
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 5 of 25




                                 INTRODUCTION

      Jurisdictional discovery in this case has made one thing clear: Dr. Cassanello

has no intention of violating the Individual Freedom Act. Indeed, it would apparently

be impossible for him to coherently espouse or endorse any of the eight prohibited

concepts related to race because he does not believe that race even exists. Dr.

Cassanello’s remarkable rejection of the existence of race renders his claim that he

is injured by the Act utterly incoherent, and he cannot demonstrate standing.

      In any event, Dr. Cassanello has made clear that the foundation of his teaching

methodology is not to endorse or advocate the arguments and theories in material

he assigns, but rather to foster in his students the “critical thinking” skills that will

enable them to think for themselves. Because the Act prohibits only the endorsement

of the prohibited concepts—and expressly permits discussion of them—even if some

reading material that Dr. Cassanello assigns expressly endorses one of the eight

concepts, his act of assigning the material would clearly not violate the Act.

      Moreover, Dr. Cassanello testified that he does not believe that any of his

readings actually violate the Act. Instead, his concern is that people could

misconstrue his teaching as violating the Act. His concern, however, is centered on

persons who lack enforcement power and are not before the Court. A fear of

enforcement based on a misreading of either the Act or a misconstruction of Dr.



                                           1
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 6 of 25




Cassanello’s assignments by a non-party who lacks enforcement power is not the

kind of objectively reasonable fear that gives rise to an Article III injury.

      If all that were not enough, Dr. Cassanello further testified that he himself

rejects most of the concepts prohibited by the Act. And for the concepts that he was

reluctant to either condemn or endorse, it is clear that his reluctance plainly stems

from a misunderstanding of what those two provisions of the Act actually prohibit.

      Dr. Cassanello lacks standing.

                           FACTUAL BACKGROUND

      In April, Governor DeSantis signed the Individual Freedom Act. See 2022

Fla. Laws 72, § 8. As relevant here, the Act prohibits the practice of “subject[ing]

any student or employee to training or instruction that espouses, promotes, advances,

inculcates, or compels such student or employee to believe any of the following

concepts”:

      1.     Members of one race, color, national origin, or sex are morally
             superior to members of another race, color, national origin, or
             sex.

      2.     A person, by virtue of his or her race, color, national origin, or
             sex is inherently racist, sexist, or oppressive, whether
             consciously or unconsciously.

      3.     A person’s moral character or status as either privileged or
             oppressed is necessarily determined by his or her race, color,
             national origin, or sex.



                                           2
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 7 of 25




      4.     Members of one race, color, national origin, or sex cannot and
             should not attempt to treat others without respect to race, color,
             national origin, or sex.

      5.     A person, by virtue of his or her race, color, national origin, or
             sex bears responsibility for, or should be discriminated against
             or receive adverse treatment because of, actions committed in the
             past by other members of the same race, color, national origin,
             or sex.

      6.     A person, by virtue of his or her race, color, national origin, or
             sex should be discriminated against or receive adverse treatment
             to achieve diversity, equity, or inclusion.

      7.     A person, by virtue of his or her race, color, sex, or national
             origin, bears personal responsibility for and must feel guilt,
             anguish, or other forms of psychological distress because of
             actions, in which the person played no part, committed in the past
             by other members of the same race, color, national origin, or sex.

      8.     Such virtues as merit, excellence, hard work, fairness, neutrality,
             objectivity, and racial colorblindness are racist or sexist, or were
             created by members of a particular race, color, national origin, or
             sex to oppress members of another race, color, national origin, or
             sex.

FLA. STAT. § 1000.5(4)(a)1-8.

      Although it prohibits all persons from subjecting a student or employee to

“endorsement” of these concepts, the Act makes clear that it does not “prohibit

discussion of the concepts . . . as part of a larger course of training or instruction,

provided such training or instruction is given in an objective manner.” Id.

§ 1000.5(4)(b).




                                          3
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 8 of 25




      Dr. Cassanello and several other plaintiffs sued, seeking a preliminary

injunction. See Verified Complaint, Doc. 1 (Apr. 22, 2022); Pls.’ Mot. for Prelim.

Inj. and Mem. of Law, Doc. 4 (Apr. 22, 2022). They argue that the Act violates the

First Amendment and is void for vagueness. The Court denied the preliminary

injunction motion for lack of standing as to all Plaintiffs other than Dr. Cassanello.

See Order Denying Prelim. Inj. in Part, Doc. 62 (June 27, 2022) (“PI Order”). Dr.

Cassanello’s motion for an order preliminarily enjoining enforcement of Section

1000.5(4)(a) of the Act is still pending. On July 1, the Act went into effect. The

following week, the Court denied Defendants’ motion to dismiss Dr. Cassanello’s

claims against the Board of Governors. Order Granting in Part and Denying in Part

Mot. to Dismiss, Doc. 68 (July 8, 2022) (“MTD Order”).

      Defendants thereafter sought jurisdictional discovery related to Dr.

Cassanello’s standing. Specifically, they requested documents related to the

instruction that Dr. Cassanello believed would be prohibited by Section 1000.5(4)(a)

of the Act. In addition, Defendants deposed Dr. Cassanello on August 5, 2022. In

light of Dr. Cassanello’s production and deposition, Defendants move for partial

summary judgment and for leave to file this supplemental brief in opposition to Dr.

Cassanello’s motion for a preliminary injunction.




                                          4
     Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 9 of 25




                            STANDARD OF REVIEW

      To sustain his motion for a preliminary injunction, Dr. Cassanello bears the

burden of persuasion to “clearly establish” that (1) he “has a substantial likelihood

of success on the merits”; (2) he will suffer “irreparable injury” if he does not obtain

an injunction; (3) his “threatened injury . . . outweighs whatever damage the

proposed injunction may cause” Defendants; and (4) the injunction “would not be

adverse to the public interest.” Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244,

1247 (11th Cir. 2016) (internal quotation marks omitted). In turn, summary

judgment is appropriate “when there is no genuine issue as to any material fact, and

the moving party is entitled to judgment as a matter of law.” Blackburn v. Shire US

Inc., 18 F.4th 1310, 1317 (11th Cir. 2021).

                                    ARGUMENT

I.    Dr. Cassanello’s Idiosyncratic View Of “Race” Renders His Challenge
      To The Act Utterly Incoherent.

      Until last Friday, we thought we understood the nature of Dr. Cassanello’s

argument: The Act prohibits him from espousing certain concepts related to race that

he believes and intends to endorse in his classroom this upcoming schoolyear. Dr.

Cassanello states in his declaration that he “strive[s] to give students a

comprehensive view of the history of race and racism in America.” Decl. of Dr.

Robert Cassanello ¶ 5, Doc. 30-2 (May 18, 2022) (“Cassanello Decl.”). And he


                                           5
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 10 of 25




believes that his instruction might be deemed to endorse the concepts prohibited by

the Act.

      For example, some of his instruction, Dr. Cassanello said, could be seen as

endorsing the concept that “a person’s moral character or status as either privileged

or oppressed is necessarily determined by his race.” See Cassanello Decl. ¶ 12; FLA.

STAT. § 1000.05(4)(a)3. Similarly, he declared that he would be prohibited from

criticizing “the ‘bell curve’ theory” that “used the concept of merit and innate

intelligence to justify socioeconomic inequality” because doing so would be

considered endorsing the concept that “such virtues as merit, excellence, hard work,

fairness, neutrality, objectivity, and racial colorblindness are racist or sexist, or were

created by members of a particular race, color, national origin, or sex to oppress

members of another race, color, national origin, or sex.” Cassanello Decl. ¶ 10; MTD

Op. at 8; FLA. STAT. § 1000.05(4)(a)8. Likewise, Dr. Cassanello stated that the Act

prohibited him from assigning THE NEW JIM CROW because doing so would be

considered endorsing the concept that “a person’s moral character or status as either

privileged or oppressed is necessarily determined by his or her race, color, national

origin, or sex.” Cassanello Decl. ¶¶ 11-12; MTD Op. at 9; FLA. STAT.

§ 1000.05(4)(a)3. Because he believed that the Act prohibits him from teaching what

he intends to teach, he filed this lawsuit.



                                              6
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 11 of 25




      During Dr. Cassanello’s deposition, however, the straightforward nature of

his argument was completely upended. There, Dr. Cassanello explained that he had

no intention of endorsing any of the eight concepts related to race because he did not

even believe that race exists in the first place. He did not mince words: “I don’t want

to endorse the notion of race and say race is something which exists. So I don’t want

to say, you know, ‘I believe everyone of every different race should be treated

equally’ because then I’m endorsing the notion of race[.]” Ex. 1 to Notice of Filing

Exhibit in Support of Defendants’ Motion for Partial Summary Judgment at 143:13-

18, Doc. 73-1 (Aug. 11, 2022) (“Dep. Tr.”).

      Dr. Cassanello’s attempt to explain his view of race raised more questions

than it answered. When asked what race he considers himself to be, Dr. Cassanello

responded, “I would consider myself part of the human race.” Id. at 149:21-23. When

asked about other people’s races, Dr. Cassanello stated that he believed their races

are determined by “their own self-ascribed identities.” Id. at 158:14-21. This fluid,

mutable view of race necessarily contemplates the possibility of a “trans-racial

identity,” id. at 162:5-9, which Dr. Cassanello ultimately concluded he would

“[p]robably” accept were a student to identify as trans-racial, see id. at 166:10-15.

      Given Dr. Cassanello’s understanding of race, it is difficult to understand what

his lawsuit is about. If race is not “something which exists” and is merely a self-

ascribed, discretionary identity, then every person is both any race and no race. And
                                          7
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 12 of 25




nothing Dr. Cassanello believes can even conceivably be prohibited by the Act—

which presupposes not only that race exists, but that it is an immutable natural

characteristic determined at birth. For example, if race does not exist, then the

proposition that members of one race are morally superior to members of another

race is simply incoherent. It is on the order of saying that aliens from Mars are

morally superior to aliens from Venus. Dr. Cassanello seemingly acknowledged this

fact when he said that he could not say that “‘everyone of every different race should

be treated equally’ because then” he would be “endorsing the notion of race” as

“something which exists.” Id. at 143:13-15.

      Moreover, accepting Dr. Cassanello’s startling viewpoint that race does not

exist would undermine the very premise of nondiscrimination laws and

jurisprudence. The foundation of the nondiscrimination principle enshrined in the

Equal Protection Clause, the 1964 Civil Rights Act, and Florida law is that an

individual should not be discriminated against on the basis of an attribute like “race,”

which “is an immutable characteristic determined solely by the accident of birth.”

Frontiero v. Richardson, 411 U.S. 677, 686 (1973). As the Eleventh Circuit has held,

“Title VII protects persons in covered categories with respect to their immutable

characteristics, but not their cultural practices.” EEOC v. Catastrophe Mgt.

Solutions, 852 F.3d 1018, 1030 (11th Cir. 2016). “No one can change his place of

birth (national origin), the place of birth of his forebears (national origin), [or] his
                                           8
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 13 of 25




race[.]” Garcia v. Gloor, 618 F.2d 264, 269 (5th Cir. 1980). Thus, “a person’s race”

is “permanently discernible.” Vieth v. Jubelirer, 541 U.S. 267, 287 (2004)

(plurality). And the discrimination prohibited by Section 1000.05, Title VII, and the

Equal Protection Clause target discrimination based on characteristics that are

“beyond the victim’s power to alter.” Garcia, 618 F.2d at 269. In Dr. Cassanello’s

view, however, a person’s race is not an “immutable characteristic” determined at

birth but rather is discretionary persona, based on a person’s “own self-ascribed

identit[y].” Dep. Tr. 156:6-8. Indeed, if a student identified as “trans-racial”—e.g.,

a white person decides to “identif[y]” as a black person—Dr. Cassanello’s view

would require him to affirm that identity as true. See Id. at 166:5-6 (“If a student

corrects me and says, ‘This is how I self-identify.’ I will say, ‘Okay.’”). Under Dr.

Cassanello’s view, the foundation of American nondiscrimination law and

jurisprudence collapses into nonsense.

      Given Dr. Cassanello’s idiosyncratic view of race, his claim that he is injured

by the Act completely unravels. Because Dr. Cassanello does not believe in the

premise underlying the prohibited concepts—i.e., that race even exists—he cannot

plausibly claim that the Act infringes on his academic freedom or free speech rights.

He has therefore failed to demonstrate an injury sufficient to support Article III

standing, and this Court lacks jurisdiction. Thus, the Court should deny his motion



                                          9
      Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 14 of 25




for a preliminary injunction and grant summary judgment for Defendants on Dr.

Cassanello’s claims.

II.     Dr. Cassanello Has Failed To Demonstrate That He Intends To Endorse
        Any Of The Prohibited Concepts In His Classes.

        Dr. Cassanello has failed to demonstrate standing for a second reason.

Specifically, Dr. Cassanello has failed to show that any injury is imminent as a result

of the Act because, by Dr. Cassanello’s own admission, he does not believe, and has

no intention of endorsing, any of the concepts that the Act prohibits. Article III

standing is a jurisdictional requirement. Keister v. Bell, 29 F.4th 1239, 1249 (11th

Cir. 2022). To establish standing, Dr. Cassanello must show that he has suffered an

injury-in-fact; that the injury is fairly traceable to the allegedly unlawful conduct;

and that a favorable decision will likely redress the injury. See Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560-61 (1992). An injury-in-fact must be “actual or

imminent, not conjectural or hypothetical.” Id. (cleaned up).

        In a pre-enforcement First Amendment challenge, to show that an injury is

imminent and not hypothetical, a “plaintiff must show (1) that he has ‘an intention

to engage in a course of conduct arguably affected with a constitutional interest,’ (2)

that his conduct is ‘arguably proscribed,’ and (3) that he is subject to ‘a credible

threat of enforcement.’” Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1119-20

(11th Cir. 2022) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159, 162


                                          10
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 15 of 25




(2014)). And when seeking a preliminary injunction, a plaintiff may not rest on

“mere allegations” but instead “must set forth by affidavit or other evidence specific

facts, which for purposes of the summary judgment motion will be taken to be true.”

PI Order at 11-12 (internal quotation marks omitted).

      As discussed above and in our prior briefing, the Act generally prohibits

public school teachers from espousing eight specific concepts in the classroom. Dr.

Cassanello has not shown that his instruction is even arguably proscribed by this

prohibition. To the contrary, in his August 5th deposition, he explained in detail that

his teaching methodology encourages students to determine for themselves what

they believe, and that he does not espouse or endorse the reading material that he

assigns. As part of this method, he explained, he “could assign a reading” and ask

students to find “a document that [they] interpret that is going to either defend or

support” the author’s argument. Dep. Tr. 38:5-9 (emphasis added). The point “is

introducing students to critical thinking,” id. at 38:13-15, which is one of the main

“tools” that Dr. Cassanello “strive[s] to give students” in his classroom, see id. at

36:8-19. For this reason, Dr. Cassanello rejected the notion that his assignment of a

book—“[a]ny book”—should be or could be construed as him “espous[ing],

promot[ing], or advanc[ing]” its contents. Id. at 117:15-118:2. And his refusal to

endorse the books he assigns is “part of the critical thinking” he attempts to foster in

his students. Id. at 118:2-3. “You want students to be able to [take] arguments apart,”
                                          11
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 16 of 25




he said. Id. at 1118:3-4. Given these pedagogical goals, Dr. Cassanello’s teaching

method—i.e., his refusal to endorse or espouse the arguments in the books he

assigns—means that his instruction does not violate the Act.

      This point is well illustrated by Dr. Cassanello’s discussion, during his

deposition, of the book “WHY BUSING FAILED: RACE, MEDIA, AND THE NATIONAL

RESISTANCE   TO   SCHOOL DESEGREGATION” by Matthew Delmont. See Cassanello

Decl. ¶ 15. In his declaration, Dr. Cassanallo expressed concern that he might violate

the Act by assigning this text. Cassanello Decl. ¶ 15. But as he explained in his

deposition testimony, his actual classroom assignment of this book instructs students

to either “affirm or refute the thesis of” the book. Dep. Tr. 169:1-15 (emphasis

added). In fact, Dr. Cassanello is utterly “indifferent to whether they affirm or refute

it”; the point of the assignment, like his class generally, is to grade students “on how

they support it” or “how they defend it.” Id. at 170:6-10. Thus, no matter what the

book says, Cassanello’s assignment of it does not and cannot violate the Act because

he does not endorse the arguments in the book as part of his instruction.

      Indeed, Dr. Cassanello affirmatively rejects nearly all of the concepts

prohibited by the Act. At his deposition, he was asked if he “believe[d] that members

of one race or morally superior to members of another race.” Id. at 76:1-6; see also

FLA. STAT. § 1000.05(4)(a)1. He answered “[n]o.” Dep. Tr. 76:7-8. He was asked if

he “believe[d] that a person by virtue of his or her race is inherently racist or
                                          12
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 17 of 25




oppressive, whether consciously or unconsciously.” Id. at 93:5-14; see FLA. STAT.

§ 1000.05(4)(a)2. He answered “[n]o.” Dep. Tr. 93:15. He was asked if he

“believe[d] that a person’s moral character is necessarily determined by his or her

race.” Id. at 94:15-21; see also FLA. STAT. § 1000.05(4)(a)3. He answered “[n]o.”

Dep. Tr. 94:22. He was asked if he “believe[d] that a person by virtue of his or her

race bears responsibility for or should be discriminated against or receive adverse

treatment because of actions committed in the past by other members of the same

race.” Id. at 178:23-179:9; see also FLA. STAT. § 1000.05(4)(a)5. He answered

“[n]o.” Dep. Tr. 179:10.

      Even with respect to the few concepts that Dr. Cassanello was reluctant to

reject outright, it is clear that his reluctance rests on misreadings of the Act’s text.

For example, Dr. Cassanello testified that he “can’t answer” whether the virtues of

“merit, excellence, hard work, fairness, neutrality objectivity, and racial

colorblindness” are “racist” because “it depends on the instruments, and the people

who are measuring all those categories.” Id. at 185:18-186:13. Thus, racist

individuals could “use . . . the notion of merit and colorblindness and so on and so

forth to achieve a racist goal, which is inherently not those things.” See id. at 191:9-

12. But the Act does not prohibit endorsing the idea that these virtues could be used

in a racist manner; it prohibits endorsing the idea that the virtues themselves are

racist. See FLA. STAT. § 1000.05(4)(a)8. And as Dr. Cassanello made clear, “it’s not
                                          13
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 18 of 25




the concept” itself that is racist, “[i]t’s the one who employs the concept.” Dep. Tr.

186:20-21. Dr. Cassanello’s concerns about the virtues listed in the Act being used

in a racist manner even though the virtues themselves are “inherently” not racist, id.

at 191:9-12, is thus perfectly consistent with the Act.

      The same goes for Dr. Cassanello’s hesitance to reject the idea that “a person’s

status as privileged or oppressed is necessarily determined by his or her race.” Id. at

95:7-10; see also FLA. STAT. 1000.05(4)(a)3. It is plain from the Act’s use of the

word “necessarily” that the prohibited concept is categorical: “Tell me someone’s

race, and I’ll tell you whether he or she is privileged or oppressed.” But Dr.

Cassanello’s examples invariably added facts—such as “local policing policies”—

to support his conclusion that “it’s possible” that a person’s race could determine

their status. See Dep. Tr. 95:10-23. Moreover, Dr. Cassanello stressed that he was

merely contending that a greater “proportion” of oppressed people are racial

minorities, id. at 103:6-18, not that it is “a universal experience” for racial minorities

to be oppressed, id. at 113:1-14. But the Act addresses only the concept that it is the

universal experience of members of one race to experience privilege or oppression.

For an individual’s status as either privileged or oppressed is “necessarily

determined by his or her race” only if all people of that race—regardless of the

culture, nation, or point in history in which they live—are either privileged or



                                           14
       Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 19 of 25




oppressed. Nothing Dr. Cassanello has said is even remotely contrary to the Act’s

prohibition of this concept.

         In sum, Dr. Cassanello has admitted that he has no intention of violating the

Act.

III.     Dr. Cassanello’s Subjective Fear Of Erroneous Enforcement By Persons
         Not Before The Court Does Not Confer Standing.

         Dr. Cassanello also cannot, as a matter of law, claim that the Act injures him

because he fears the possibility that some third party may mistakenly accuse him of

violating the Act. When a plaintiff self-censors in response to a law, that self-

censorship results in an Article III injury only if it is objectively reasonable.

“Allegations of a ‘subjective chill’ are not an adequate substitute for . . . a threat of

specific future harm.” Laird v. Tatum, 408 U.S. 1, 13-14 (1972); see also Babbitt v.

United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979) (“[P]ersons having no

fears of state prosecution except those that are imaginary or speculative, are not to

be accepted as appropriate plaintiffs.”). Thus, Dr. Cassanello’s concerns in this

regard support standing only if the Act itself “objectively chills” his classroom

instruction. Speech First, Inc., 32 F.4th at 1120. It does not, for at least two reasons.

         First, Dr. Cassanello plainly misunderstands the concept prohibited by Section

1000.05(a)(4). He repeatedly testified that his concern is based on the possibility that

he could be charged with violating the Act if a student merely feels guilty or


                                           15
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 20 of 25




distressed because of something Dr. Cassanello teaches: “I think HB7 would prohibit

me from discussing that element of slavery if I have [a] student stand up in class and

say, ‘You’re making me feel guilty by introducing me to this material.’ And then I

think HB7 in that regard would be triggered[.]” Dep. Tr. 51:14-18; see also id. at

52:8-11 (“I don’t have a role in, you know, how a student may or may not feel based

on a topic I introduce in class or how I introduce that topic.”); id. at 191:22-23

(discussing students’ “natural psychological distress” in response to certain

teachings). But as this Court has already explained, the Act “does not bar instruction

that incidentally makes students feel bad; it bars instructing students that they ‘must

feel guilt, anguish, or other forms of psychological distress for actions, in which he

she played no part, committed in the past by other members of the same race or

sex.’” MTD Order at 9-10 (quoting FLA. STAT. § 1000.05(4)(a)7). Thus, Dr.

Cassanello’s concern that a student will sue him merely because the student felt a

certain way is plainly unreasonable—i.e., not an “objective chill”—and thus not a

basis for Article III standing.

      Second, Dr. Cassanello repeatedly testified that the Act would force him to

self-censor because of the risk that third parties—who are not before the Court and

who lack any enforcement authority under the Act—might misconstrue his

assignment of a book as endorsement of the author’s ideas and complain about his

instruction. A recurring theme at his deposition was his fear that “people off the
                                          16
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 21 of 25




street” would sue him for violating the Act. Dep. Tr. 53:7-11; see also id. at 53:13-

14 (“someone off the street”); id. at 115:3-5 (“a person on the street”); id. at 117:1

(“someone off the street”). But random people “on the street” do not have

enforcement power under the Act. Instead, the Act creates a cause of action only for

those “aggrieved by a violation,” FLA. STAT. § 1000.05(9), meaning a person

actually “subject[ed]” to “training or instruction,” FLA. STAT. § 1000.05(4)(a).

      Relatedly, Dr. Cassanello also expressed fear of enforcement stemming from

a single specific state legislator who is not a party in this case, not a member of the

Florida Board of Governors, and not vested with independent enforcement authority.

See, e.g., Dep. Tr. 53:22-54:18; id. at 117:2-4; id. at 174:2-12; id. at 191:13-21.

Under the “historical practice” that limits federal courts’ equity power, however, this

Court may not “enjoin the world at large” or “purport to enjoin challenged laws

themselves.” Whole Woman’s Health v. Jackson, 142 S. Ct. 522, 535 (2021) (internal

quotation marks omitted). Therefore, Dr. Cassanello may not seek an injunction

against enforcement of the Act by everyone throughout all of Florida based on

entirely unsupported and speculative assertions that “people off the street” are going

to sue him or that one state legislator will somehow singlehandedly enforce the act

against him. And again, because the Act provides no mechanism for such third-party

lawsuits, these concerns are utterly speculative and unfounded in any event.



                                          17
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 22 of 25




      Finally, Dr. Cassanello’s testimony makes clear that his fundamental concern

is that such third parties could misconstrue his teaching. See Dep. Tr. 117:15-118:2

(agreeing it would “not be a correct construction” to construe his assignment of THE

NEW JIM CROW as endorsing the book); id. at 134:8-16 (similar for THE WAGES OF

WHITENESS); id. at 124:5-8; id. at 134:14-15 (“I think we have established what I do

in the classroom. It’s about how one construes.”); id. at 136-10 (agreeing that

“simply assigning” a book “and having as a subject of discussion . . . could be

misconstrued” as “an endorsement”). In this argument, the “flaw in [Dr.

Cassanello’s] reasoning is subtle—[he] do[es] not argue that the Statute itself

improperly penalizes protected speech, but that the Statute will be improperly

applied to penalize protected speech.” Legacy Enter. & Arts Found., Inc. v. Mina,

No. 6:21-cv-698-PGB-DCI, 2021 WL 4444688, at *5 (M.D. Fla. Aug. 20, 2021).

But this erroneous application of the Act “cannot be litigated ex ante.” Id. By

definition, if Dr. Cassanello’s decision to censor his own speech is based on the fear

that someone might misconstrue that speech, that chill is manifestly “subjective,”

not “objective,” so it cannot support standing.

      In sum, any alleged self-censorship by Dr. Cassanello is not a reasonable

response to an “objective chill” caused by the Act. A fear that someone with no

enforcement power will misconstrue either the Act or Dr. Cassanello’s teaching and



                                         18
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 23 of 25




bring a lawsuit is not reasonable. Thus, Dr. Cassanello has failed to demonstrate an

injury in fact.

                                 CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiff Cassanello’s

motion for a preliminary injunction and grant summary judgment for Defendants on

Dr. Cassanello’s claims.




                                        19
    Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 24 of 25




                   LOCAL RULE 7.1(B) CERTIFICATION

      In accordance with Local Rule 7.1(B), Defendants have conferred with

counsel for Plaintiffs regarding this motion to the extent it seeks leave to file a

supplemental memorandum in opposition to Plaintiff Cassanello’s motion for a

preliminary injunction. Plaintiffs do not oppose on the understanding that Plaintiffs

will be permitted to file a response to Defendants supplemental memorandum, which

Defendants do not oppose.

          LOCAL RULE 7.1(F) CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), the undersigned counsel

hereby certifies that the foregoing Defendant’s Memorandum in Opposition to

Plaintiffs’ Motion for Preliminary Injunction, including body, headings, quotations,

and footnotes, and excluding those portions exempt by Local Rule 7.1(F), contains

4,453 words as measured by Microsoft Office for Word 365.




                                         20
   Case 4:22-cv-00166-MW-MJF Document 74-1 Filed 08/12/22 Page 25 of 25




Date: August 12, 2022                      Respectfully submitted,

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                                      21
